        Case 3:18-cv-00993-AWT Document 10-1 Filed 07/27/18 Page 1 of 1




                              UNITED STATES DISTRICT COURT
                                DISTRICT OF CONNECTICUT



 STRIKE 3 HOLDINGS, LLC,
                                                        Civil Action No. 3:18-cv-00993-AWT
                              Plaintiff,

        v.

 JOHN DOE subscriber assigned IP address
 67.85.12.118,

                              Defendant.


        [PROPOSED] ORDER GRANTING PLAINTIFF’S MOTION FOR EXTENSION
                                    OF PRETRIAL DEADLINES

       THIS CAUSE came before the Court upon Plaintiff’s Motion for Extension of Pretrial

Deadlines (the “Motion”), and the Court being duly advised in the premises does hereby:

       ORDERED and ADJUDGED: Plaintiff’s Motion is GRANTED. The deadline to amend

the pleadings is extended to 60 days after the Rule 26(f) conference, the discovery deadline is

extended to 6 months after the Rule 26(f) conference, and the dispositive motion deadline is

extended to 7 months after the Rule 26(f) conference.


       DONE AND ORDERED this               day of                     , 2018.



                                            By:
                                            UNITED STATES DISTRICT JUDGE
